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                            UNITED STATES DISTRICT COURT

                               DISTRICT OF MINNESOTA

 Kaarin Nelson Schaffer,
 as Trustee for the Next of Kin
 of GEORGE P. FLOYD, JR.,                         FILE NO. 19-CV-2669-NEB-DTS
 Deceased,

               Plaintiff,

    vs.                                                 MEMORANDUM OF
                                                        LAW IN SUPPORT
 Derek Chauvin, in his individual capacity              OF DEFENDANTS’
 as a Minneapolis police officer; Tou Thao,             MOTION FOR STAY
 in his individual capacity as a Minneapolis            OF PROCEEDINGS
 police officer; Thomas Lane, in his
 individual capacity as a Minneapolis police
 officer; J. Alexander Kueng, in his
 individual capacity as a Minneapolis police
 officer; and the City of Minneapolis,

               Defendants.


              “[A] court may decide in its discretion to stay civil
              proceedings … [in] the interests of justice….”

              Sec. & Exch. Comm'n v. Dresser Indus., Inc., 628 F.
              2d 1368, 1375 (D.C. Cir. 1980), cert. denied (Nov. 17,
              1980) (emphasis added0.

                             ***********

              “Without a stay of this civil action, the rights of my
              client and the other Defendants will be impeded and
              impaired in the parallel criminal case.”

               Affidavit of Earl Gray, ¶ 8 (emphasis added).



Dated: October 29, 2020
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                                 I.      INTRODUCTION

       This matter is before the Court upon Motion by the individual Defendants in this

case seeking a stay of the proceedings pending the outcome of a parallel criminal case

against all of them. There are four separate criminal complaints, which are consolidated

in one legal proceeding pending in Hennepin County District Court. See Affidavit of Earl

Gray and Exhibit 1.

       The present case is a civil action brought by the family of George Floyd, arising

out of his death that occurred on Memorial Day evening, May 25, 2020, in south

Minneapolis. The 38-page, 261 paragraph lawsuit alleges one count of liability against the

four officers involved in that incident, a claimed violation under the Fourth Amendment,

and two other claims against the City of Minneapolis. The parallel criminal proceeding

against all four of the Defendants alleges various counts of murder and aiding and abetting

against them, which is now scheduled for trial on March 8, 2021. See Affidavit of Earl

Gray, ¶ 4.

       The criminal case was filed in early June. This civil case was commenced in mid-

August. The parties have agreed to a series of temporary stays, the current one being set to

expire on November 20, 2020. See Docket 36.

       For the reasons set forth below, the stay should be extended pending the resolution

of the criminal case in order to protect the Fifth Amendment rights of the individual

Defendants and to avoid impairing their defenses on the criminal case.



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                            II.     FACTUAL BACKGROUND

        The Court, and just about everyone else, is familiar with the underlying facts and

some of the issues in this case. The criminal proceeding alleges serious felonies against

the four officers involved in the incident. Meanwhile, the Floyd family has filed this

lawsuit, seeking damages against the four officers and the City arising out of the same

incident.

        The criminal case obviously raises Fifth Amendment issues on behalf of all of the

officers. Additionally, some of the officers have sought to sever their trials from each other

on grounds, inter alia, that they may raise conflicting defenses at trial. The prosecution

maintains that they should all be tried together. That issue is pending before Hennepin

County District Court Judge Peter Cahill and has not yet been resolved, along with various

other critical issues in the criminal case, including a motion for change of venue, among

other matters.

        The individual officers entered into an agreement with the Plaintiff and the City to

stay the Answer for 60 days after the lawsuit was filed in mid-August and subsequent

stipulations to extend the stay have been agreed to by the parties. Defendants have sought

to reach a stipulation to extend that stay until the criminal cases against the officers are

resolved; the City has agreed, but the Plaintiff Floyd family has not, which necessitates this

Motion. See Affidavit of James Michels, ¶ 7.




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          For the reasons set forth below, the Motion should be granted and the case stayed

pending the resolution of the criminal proceeding.

   III.     THIS LAWSUIT SHOULD BE STAYED PENDING RESOLUTION OF
            THE CRIMINAL CASE

       The District Court may stay a civil matter while a criminal matter is pending for

purposes of protecting the right of self-incrimination of a defendant under the Fifth

Amendment of the U.S. Constitution. As the U.S. Supreme Court explained in Lefkowitz

v. Turley, 414 U.S. 70, 77 (1973):

       The Fifth Amendment provides that no person ‘shall be compelled in any
       criminal case to be a witness against himself.’ The Amendment not only
       protects the individual against being involuntarily called as a witness against
       himself in the criminal prosecution, but also privileges him not to answer
       official questions put to him in any other proceeding, civil or criminal,
       formal or informal, where the answers might incriminate him in future
       criminal proceedings.” (emphasis supplied).

       There are a number of reasons to stay a civil matter pending a criminal proceeding

that apply in this case. One is protecting the rights of the Defendants to remain silent under

the Fifth Amendment of the U.S. Constitution without placing them in a position of having

to choose between the exercise of their Fifth Amendment right, or being in default in the

civil proceeding because a negative inference can be drawn against them due to refusal to

respond. S.E.C. v. Brown, 658 F.3d 858, 863 (8th Cir. 2011), citing Baxter v. Dalmigiano,

425 U.S. 308, 320 (1976).

       Additionally, there is the potential for conflicted defenses to be asserted by the

Defendants in the criminal case, which may impair their ability to assert their differing,


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perhaps conflicting, positions in the civil case without infringing on their ability to defend

themselves in the criminal case since the prosecution could be privy to these defenses

before the criminal case is tried. Affidavit of Earl Gray, ¶ 5.

       While the Constitution does not “ordinarily require a stay of civil proceedings

pending the outcome of criminal proceedings,” Security & Exchange Commission v.

Dresser Industries, Inc., 628 F.2d 1368, 1375 (D.C. Cir. 1980), citing Baxter v.

Palmigiano, 425 U.S. 308 (1976), the court “may decide in its discretion to stay civil

proceedings, postpone civil discovery, or impose protective orders and conditions … [in

the] interests of justice.” Dressler, 628 F.2d at 1375, quoting U.S. v. Kordel, 397 U.S. 1,

12 n. 27 (1970). Staying civil litigation “until factually related criminal proceedings are

concluded are sometimes warranted.” Koester v. American Republican Investors, Inc., 11

F.3d 818, 823 (8th Cir. 1993).

       While civil defendants “cannot hide behind a blanket invocation of the Fifth

Amendment privilege,” Id., they are entitled to a stay by making a “strong showing either

of the two proceedings are so interrelated he cannot protect himself in a civil trial by

selectively invoking his Fifth Amendment privilege,” or the two trials are so overlapped

that effective defense of both is impossible. Id.

       In addition to the clear-cut Fifth Amendment implications present here, the Court

may consider five additional factors:




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       (1)     The interest of the plaintiff in proceeding expeditiously with this

               litigation or any particular aspect of it and the potential prejudice to

               plaintiff of a delay;

       (2)     The burden which any particular aspect of the proceedings may impose

               on Defendants;

       (3)     The convenience of the court in the management of its cases, and the

               efficient use of judicial resources;

       (4)     The interests of persons not party to the civil litigation; and

       (5)     The interest of the public in the pending civil and criminal litigation.

Fidelity National Title Insurance Co. of New York v. National Title Res. Corp., 980 F.Supp.

1022, 1024 (D. Minn. 1997) (Erickson, Mag. J. quoting Keating v. Office of Thrift

Supervision, 485 F.3d 322, 324-25 (9th Cir. 1995).

        The Defendants make that showing here in several respects.

      ●      Fifth Amendment Privilege At Risk

      Criminal counsel points out that the ongoing civil lawsuit poses a clear and present

threat to the exercise of the Fifth Amendment privileges and other defenses in the criminal

case. Affidavit of Earl Gray, ¶ 8. They may invoke their Fifth Amendment defense against

self-incrimination in the criminal proceeding, but doing so would have a negative impact

on their parallel civil case, raising an adverse inference against them that could jeopardize

their rights in the present civil case. Id. For this reason, it is “customary” in cases like this

with parallel civil and criminal cases proceedings, with serious charges pending, to stay the

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civil matter to protect the exercise of Constitutional rights in the criminal matter. Id., ¶

7. Without such a stay, the ability of these defendants to defend themselves will be

“impeded and impaired.” Id., ¶ 8.

      While there are different legal issues in the criminal and civil cases, the underlying

facts are essentially identical. Both the criminal case and the civil case arise out of the

same incident, involving the same people.

      The civil matter is in a very early stage, while the criminal case has been moving

forward and is scheduled for trial in less than five months. The complaint in the civil case

was filed in mid-August. Requiring the Defendants to interpose an Answer to the

Complaint and respond to discovery could jeopardize the exercise of their rights. Filing an

answer to their complaint could dilute the exercise of their rights because part of the answer

to the complaint could implicate their rights against self-incrimination in the criminal case.

       ●● Interest of Plaintiffs Versus Any Prejudice To Defendants

       While Plaintiff certainly has an interest in proceeding expeditiously, that interest is

not extraordinary here. Most of the evidence in this case is well preserved in videos,

documents, witness statements and the like; and it is unlikely that a reasonably short delay

will in any way jeopardize the ability of the Plaintiff to present its case following

completion of the criminal proceedings.

       In fact, Plaintiff may actually gain an advantage in the civil case by being able to

draw upon evidence that is first presented in the criminal case. As the court noted in White

v. Mapco Gas Products Co., 116 F.R.D. 498, 502 (1987): “Plaintiffs may actually benefit

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from a stay since the … resolution of any criminal cases may reduce the scope of discovery

in the civil case to simplify the issues.”

       ●●● Burden on Defendants

       There would be substantial burdens on the Defendants if the matter is not stayed. In

the criminal matter, if they exercise their Fifth Amendment rights, their testimony cannot

be used against them. See Griffin v. California, 380 U.S. 609, 615 (1965). See also Eighth

Circuit Model Jury Instructions, 3.05 and 4.01. See also Carter v. Kentucky, 450 U.S. 288,

303 (1991); Lefkowitz v. Turley, 414 U.S. 70, 84 (1973).

       But while invoking the Fifth Amendment cannot be used against a criminal

defendant in that case, the opposite is true in a civil case. There, exercise of the right to

remain silent can give rise to “adverse inferences related to the failure to bring forward

evidence.” S.E.C. v. Brown, 579 F.Supp. 2d 1228, 1234 (D. Minn. 2008).

       Thus, if this matter is not stayed, the defense will face a Hobson’s Choice between

1) exercising their Fifth Amendment right to remain silent and 2) facing a negative

inference of culpability presumption in the civil matter, if their testimony would have been

unfavorable to them, or 3) waiving their right to remain silent, in the civil case and testify,

which then may be used against them in the criminal case.

       “The implication of the right against self-incrimination must be given serious

consideration in the balancing of interest.” White, 116 F.R.D. at 502. See also United

States v. Cordell, 397 U.S. at 9, suggesting that if the Defendant was unable to provide



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interrogatory answers that waived their Fifth Amendment rights, the court could

“postpone[e] civil discovery until termination of the criminal action.”

       Courts have often granted stays in civil matters involving §1983 claims, as here,

when there are parallel criminal charge against law enforcement officers. See Doe v. City

of Chicago, 360 F.Supp. 2d 880, 882 (N.D. 2005)(stay of civil action against police officer

alleging sexual assault in other matters, while criminal matter relating to the same incident

is pending.) See also Arevalo v. City of Farmers Branch, Texas, 2017 WL 1153230 at *15

(N.D. Tex.) (court stays discovery in §1983 case against officer who shot a teenager until

resolution of parallel criminal proceeding); Lee v. Ackal, 2016 WL 1690319 at *4 (W.D.

LA. April 25, 2016) stay of administrative proceeding on excessive force matter until

“resolution of criminal case.” See Affidavit of James Michels, ¶ 8.

       Likewise, in Chagolla v. City of Chicago, 529 F.Supp.2d 941, 943 (N.D. Ill. 2008),

the plaintiff brought a civil action against several police officers for excessive force,

unreasonable search and seizure, false arrest and detention, as well as deprivation of due

process. The defendants had also been charged with crimes relating to the case, while

others were not; but defendants all expressed concern they may want to assert their Fifth

Amendment rights in the criminal matters. The court there outlined the challenges faced

by persons facing a civil matter, as well as actual potential criminal prosecution.

       The court discussed the Fifth Amendment privilege of the defendants, including that

it is “highly unlikely that any criminal defense attorney worthy of that title would allow

any of the individual defendants to testify and answer discovery where the complaint in the

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[civil] case.” Id., at 944. The court further noted the likelihood is overwhelming that if

forced to choose between claiming the privilege and answering discovery of the complaint,

each of the individual defendants would claim the privilege, thereby creating the risk that

their claim could be helped to prove [the plaintiff’s] allegations against them. Id. The

same is true here, for the individual defendants, placing them in jeopardy of either

sacrificing their rights on a criminal case or the civil case, without a stay in this proceeding.

       There is ample precedent within the District for a stay, the Mohamed Noor

case. Rusczyk v. Noor, 349 F.Supp.3d 754 (D. Minn. 2018). Magistrate Judge Leung there

stayed the civil wrongful death lawsuit against the former police officer and Minneapolis

City officials arising out of the tragic death of Justine Damon (not too far from the George

Floyd site) pending resolution of the criminal murder case against Noor. The Magistrate

Judge did so largely to preserve the 5th Amendment rights of Noor “given the substantial

criminal charges” against him. Id., at 765.

       Forcing Noor to choose between invocation of his right against self-incrimination

in the criminal case to protect himself in the criminal case, “will not advance [the] parties

or the public … [which] will instead be left in essentially the same position as they are

now, with no explanation” of the incident. Id., at 767. A stay was appropriate, the

Magistrate Judge concluded, because “the public has a paramount interest in preserving the

indispensable linkage between truth and fairness … particularly in case that has garnered

much publicity locally, nationally, and internationally.” Id., at 766-67. The same rationale

is applicable here.

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         Magistrate Judge Leung mentioned flexibility, which is appropriate here, too, by

requiring updates from counsel potentially to reassess “the propriety of the stay.” Id., at

767.1

         Justice will be ill served by effectively depriving defendants of the option to exercise

their Fifth Amendment rights or not.

         ●●●● Convenience of the Court

         There will be no significant burden on the court in staying the civil matter until the

outcome of the criminal matter. In fact, the burden may be less once there is a

determination in the criminal matter, which may have significant effect on resolution of

this the civil litigation. See Progressive Insurance Co. v. Alivio Chiropractic Care, Inc.,

2006 WL 6843548 *1-2 (D. Minn. March 15, 2006) (stay may “reduce the scope of

discovery or simplify issues in the case.”)

         ●●●●● Interests of Non Parties

         This matter obviously has attracted enormous attention. But non-parties do not have

any cognizable or legal interests in the outcome of the civil case which turns primarily on

how much money, if any, will be paid to the Floyd family.

          Any changes in police practice, procedures, and other agents of policing in

Minneapolis (or elsewhere) are already in place and will not be greatly advanced – or

retarded – by the progress of the civil case.


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    Noor ultimately testified in the criminal case. Id., at 767. The civil case soon settled.

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       ●●●●●● Public Interest

      While the public has substantial interest in this high profile matter, there also is a

public interest to assure that the Defendants are given full and fair rights in a criminal

proceeding. Forcing them to participate in the civil case until the criminal case is resolved

may jeopardize their rights in the criminal case and create the perception, if not actuality,

that they are not being treated fairly in the criminal case. The credibility and integrity of

the justice system in the eyes of the public will benefit from a stay, but may be diminished

without one.

                                   IV.     CONCLUSION


       For the above reasons, the Court should grant the Motion to Stay the litigation

pending the outcome of the related criminal matter.


                                              MEYER NJUS TANICK, P.A.


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